       Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 1 of 11




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 STARDAE MOSLEY,                                )
                                                )    Civil Action No.
      Plaintiff,                                )
 v.                                             )
                                                )    JURY TRIAL DEMANDED
 SOVEREIGN STAFFING GROUP, INC.                 )
 and WAL-MART FULFILLMENT                       )
 SERVICES, LLC,                                 )
                                                )
   Defendants.                                  )
 __________________________________

                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Stardae Mosley (“Plaintiff”), by and through

undersigned counsel, and files this Complaint pursuant to Title VII of the Civil

Rights Act of 1964, as amended (“Title VII”) against Defendants Sovereign Staffing

Group, Inc. (“Defendant Sovereign”) and Wal-Mart Fulfillment Services, LLC.

(“Defendant Wal-Mart”) (collectively “Defendants”) and shows the Court as

follows:

                          JURISDICTION AND VENUE

                                           1.

        Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f).


                                          1
      Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 2 of 11




                                          2.

      The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§2000(e)-5(f), venue is appropriate in this Court.

                                      PARTIES

                                          3.

      Plaintiff is a citizen of the United States of America and is subject to the

jurisdiction of this Court.

                                          4.

      At all times relevant, Defendants have been engaged in business in the state

of Georgia and this district. Defendants are subject to specific jurisdiction in this

Court over the claims asserted herein.

                                          5.

      Defendant Sovereign may be served with process by delivering a copy of the

summons and complaint to its registered agent, Korey Hale, 15024 117th Street,

Olathe, Kansas 66062.         Defendant Wal-Mart may be served with process by

delivering a copy of the summons and complaint to its registered agent, C T

Corporation System, 289 Culver St., Lawrenceville, Georgia 30046.




                                          2
      Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 3 of 11




                           FACTUAL ALLEGATIONS

                                           6.

      Plaintiff timely filed charges of discrimination against Defendants with the

Equal Employment Opportunity Commission (EEOC).

                                           7.

      Plaintiff requested the right to sue on her charges from the EEOC, which the

EEOC subsequently issued on March 1, 2021, entitling an action to be commenced

within ninety (90) days of receipt of that notice.

                                           8.

      This action has been commenced within ninety (90) days of receipt of the

“Notices of Right to Sue”.

                                           9.

      Defendants are now, and at all times relevant hereto, have been employers

subject to Title VII.

                                           10.

      Defendant Sovereign is a staffing company. Defendant Sovereign placed

Plaintiff with Defendant Wal-Mart in or about March 2020.




                                           3
      Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 4 of 11




                                           11.

      When Plaintiff was promoted to Floor Lead in or about June 2020, Defendant

Sovereign’s senior onsite manager, Carlos Lopez, began to harass her. Mr. Lopez

would yell at Plaintiff in front of her co-workers, point his fingers extremely close

to her face and clap in her face when speaking with her, threaten to fire her for minor

infractions that he would not address with other employees, and speak to her

disrespectfully. Mr. Lopez did not behave in such a manner when interacting with

other employees.

                                           12.

      Mr. Lopez was aware of Plaintiff’s sexual orientation at this time because he

had previously met Plaintiff’s girlfriend. Plaintiff, a female, also dressed in

masculine clothing.

                                           13.

      Plaintiff repeatedly complained to Defendants about the harassment.

                                           14.

      In or about late June, Plaintiff complained multiple times to Defendant Wal-

Mart’s Human Resources department. Defendant Wal-Mart told Plainitff that it

could not assist her because Sovereign was responsible for the issue.




                                          4
      Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 5 of 11




                                           15.

      Plaintiff also complained to Defendant Wal-Mart’s Plant Manager, but

nothing was done to stop the harassment.

                                           16.

      Plaintiff then     contacted   Defendant   Sovereign’s   Human Resources

department. Again, nothing was done to stop the harassment.

                                           17.

      In early October, Plaintiff contacted Mr. Lopez’s superior, Carlos Geist, to

complain about Mr. Lopez’s behavior.

                                           18.

      Plaintiff also made several written complaints about Mr. Lopez, which she

submitted to Defendant Sovereign.

                                           19.

      On or about November 12, 2020, Plaintiff met with Mr. Lopez to address the

aggressive and abrupt manner in which he spoke to Plaintiff.

                                           20.

      Mr. Lopez dismissed Plaintiff’s attempt to speak with him and directed

Plaintiff to return to her work.




                                           5
     Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 6 of 11




                                          21.

      On or about November 16, 2020, Plaintiff complained to Glenn Norman, who

was Defendant Sovereign’s onsite manager and Plaintiff’s direct supervisor, about

the constant harassment she faced from Mr. Lopez. Plaintiff told Mr. Norman that

she believed Mr. Lopez was discriminating against her based on her sexual

orientation because Mr. Lopez treated Plaintiff differently than other employees that

were of heterosexual orientation.

                                          22.

      Additionally, Plaintiff told Mr. Norman that she filed an EEOC charge in

response to Mr. Lopez’s discriminatory actions directed toward her.

                                          23.

      That evening, Plaintiff sent an email to Defendant Sovereign’s HR department

explaining that she was being harassed by Mr. Lopez and that she had filed an EEOC

Charge in response to his behavior.

                                          24.

      Plaintiff reported for her shift the next day, November 17, 2020, and was

immediately met by Mr. Norman, who told her that Mr. Lopez was not happy with

what Plaintiff had told Mr. Norman about filing an EEOC charge because of Mr.

Lopez’s discriminatory actions.


                                         6
      Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 7 of 11




                                          25.

      Mr. Norman then terminated Plaintiff’s employment. No reason was given for

her termination.

                                          26.

      Any reason for Plaintiff’s termination is pretext for unlawful retaliation.

                                          27.

      In terminating Plaintif because of her protected conduct under Title VII,

Defendants violated Title VII and Plaintiff’s rights thereunder.

                                          28.

      As a result of Defendants’ unlawful actions, Plaintiff has suffered, inter alia,

pecuniary and non-pecuniary losses for which she is entitled to recover from

Defendants, including lost wages and emotional distress.

                                          29.

      Defendant Sovereign had control and influence over the terms and conditions

of the employment for which Plaintiff was hired, including her rate of compensation,

and termination.




                                          7
      Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 8 of 11




                                           30.

      Defendant Wal-Mart had control and influence over the terms and conditions

of the employment for which Plaintiff was hired, including supervision and other

human resources functions, and rate of compensation.

                                           31.

      Defendants jointly employed Plaintiff and are therefore jointly liable for

violating Title VII by the conduct described herein.

                              CLAIM FOR RELIEF

             RETALIATION IN VIOLATION OF TITLE VII OF
             THE CIVIL RIGHTS ACT OF 1964, AS AMENDED

                                           32.

      Plaintiff repeats and re-alleges 6-31 paragraphs as if set forth fully herein.

                                           33.

      Plaintiff engaged in protected conduct when she complained about sex-based

based discrimination in violation of Title VII.

                                           34.

      Defendants subjected Plaintiff to adverse employment action after Plaintiff

engaged in protected conduct.




                                          8
      Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 9 of 11




                                           35.

      There was a causal connection between the protected conduct and the adverse

action.

                                           36.

      As a direct and proximate result of these actions, Plaintiff has suffered

damages.

                                           37.

      Defendants willfully and wantonly disregarded Plaintiff’s rights, and

Defendants’ retaliation against Plaintiff was undertaken in bad faith. Plaintiff is

therefore entitled to punitive damages.

                                           38.

      Accordingly, Defendants are liable for the damages Plaintiff has sustained as

a result of Defendants’ unlawful retaliation, including damages for lost wages and

emotional distress.

      WHEREFORE, Plaintiff prays the court for judgment and relief as follows:

      (a)             General damages for mental and emotional suffering caused by

                      Defendants’ unlawful conduct;




                                          9
Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 10 of 11




 (b)         Punitive damages based on Defendants’ willful, malicious,

             intentional,   and    deliberate   acts,    including   ratification,

             condonation, and approval of said acts;

 (c)         Damages for lost wages and benefits and prejudgment interest

             thereon;

 (d)         Reasonable attorneys’ fees and expenses of litigation;

 (e)         Trial by jury as to all issues;

 (f)         Prejudgment interest at the rate allowed by law;

 (g)         Declaratory relief to the effect that Defendants have violated

             Plaintiff’s statutory rights;

 (h)         Injunctive relief of reinstatement, or front pay in lieu thereof, and

             prohibiting Defendants from further unlawful conduct of the type

             described herein; and

 (i)         All other relief to which she may be entitled.

 Respectfully submitted, this 14th day of April, 2021.


                                  BARRETT & FARAHANY

                                  s/ V. Severin Roberts
                                  V. Severin Roberts
                                  Georgia Bar No. 940504
                                  Attorney for Plaintiff


                                     10
    Case 1:21-cv-01479-JPB-LTW Document 1 Filed 04/14/21 Page 11 of 11




1100 Peachtree Street, N.E.
Suite 500
Atlanta, GA 30309
(404) 214-0120
(404) 214-0125 Facsimile
vsroberts@justiceatwork.com




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